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 8 Attorneys for United States of America

 9                                   UNITED STATES DISTRICT COURT

10                                 NORTHERN DISTRICT OF CALIFORNIA

11                                        SAN FRANCISCO DIVISION

12
     UNITED STATES OF AMERICA,                        )   NO. CR. 20-CR-00249 RS
13                                                    )
             Plaintiff,                               )   STIPULATION AND ORDER CONTINUING
14                                                    )   STATUS HEARING AND EXCLUDING TIME
        v.                                            )   UNDER THE SPEEDY TRIAL ACT FROM
15                                                    )   OCTOBER 17, 2023, TO NOVEMBER 14, 2023
     ROWLAND MARCUS ANDRADE,                          )
16                                                    )
             Defendant.                               )
17                                                    )
                                                      )
18

19           The above-referenced case was originally set for a status hearing on October 17, 2023, at 9:30
20 a.m. via Zoom. (ECF No. 184). The Court moved the time to 2:30 p.m., but Counsel for the United

21 States has a conflict at that time. Counsel for the United States and counsel for Defendant Andrade have

22 met and conferred and respectfully request that this Court continue Defendant Andrade’s status hearing

23 to the next date on which everyone is available, November 14, 2023, at 2:30 p.m., via Zoom.

24           The United States has produced voluminous discovery to Defendant Andrade in response to
25 some of Mr. Andrade’s requests, which the defense is reviewing in preparation for trial. Further, the

26 parties are engaged in discovery-related litigation before U.S. Magistrate Judge Laurel Beeler, including
27 a hearing set for October 26, 2023.

28           The parties also request and stipulate that time between October 17, 2023, and November 14,

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 1 2023, be excluded for effective preparation of counsel pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv). The

 2 parties further stipulate, and ask the Court to find, that the requested continuance and exclusion of time

 3 are in the interests of justice and outweigh the best interest of the public and the defendant in a speedy

 4 trial. 18 U.S.C. § 3161(h)(7)(A).

 5          IT IS SO STIPULATED

 6
     DATED:         October 12, 2023                              Respectfully submitted,
 7
                                                                  ISMAIL J. RAMSEY
 8
                                                                  United States Attorney
 9
                                                                         /s/
10                                                                CHRISTIAAN H. HIGHSMITH
                                                                  Assistant United States Attorney
11

12
     DATED:         October 12, 2023                                     /s/
13                                                                MICHAEL J. SHEPARD
                                                                  KERRIE C. DENT
14                                                                CINDY A. DIAMOND
                                                                  Attorneys for Defendant
15                                                                ROWLAND MARCUS ANDRADE
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 2

 3                                            ORDER

 4          For the reasons stated above by the parties, the status hearing currently set in this matter is

 5 hereby continued to November 14, 2023, at 2:30 p.m. Further, for the reasons stated above and because

 6 good cause has been shown, the time between October 17, 2023, and November 14, 2023, is excluded

 7 from the running of the speedy trial clock for effective preparation of counsel under 18 U.S.C.

 8 §3161(h)(7)(B)(iv). Failure to grant the continuance would deny the defendants’ counsel the reasonable

 9 time necessary to prepare, taking into account the exercise of due diligence. Further, the requested

10 continuance and exclusion of time are in the interests of justice and outweigh the best interest of the

11 public and the defendant in a speedy trial.

12          IT IS SO ORDERED.

13
           October 13, 2023
14 DATED: ___________________                                      ___________________________
                                                                   HON. RICHARD SEEBORG
15                                                                 United States District Judge

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